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 ATTORNEYS FOR JOSHUA N. TERRY,
 PETITIONING CREDITOR


                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 IN RE:                                             §            Case No. 18-30264- SGJ7
                                                    §
 ACIS CAPITAL MANAGEMENT, L.P.,                     §            Chapter 7
                                                    §
                ALLEGED DEBTOR.                     §
                                                    §




 IN RE:                                             §            Case No. 18-30265-SGJ7
                                                    §
 ACIS CAPITAL MANAGEMENT GP,                        §            Chapter 7
 LLC,                                               §
                                                    §
                ALLEGED DEBTOR.                     §

  PETITIONING CREDITOR JOSHUA N. TERRY'S BRIEF IN SUPPORT OF: (I) THE
   INVOLUNTARY PETITIONS AND (II) OBJECTION TO JOINT MOTION OF ACIS
  CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC TO
    DISMISS INVOLUNTARY PETITIONS AND REQUEST FOR AWARD OF FEES,
                        COSTS, AND DAMAGES

 TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY
 JUDGE:

        Joshua N. Terry ("Mr. Terry" or "Petitioning Creditor"), petitioning creditor in the above-

 captioned cases (these "Cases"), files this Brief in Support of: (I) the Involuntary Petitions; and


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 (II) Objection to Joint Motion of Acis Capital Management, L.P. and Acis Capital Management

 GP, LLC to Dismiss Involuntary Petitions and Request for Award of Fees, Costs, and Damages 1

 (the "Brief"), and respectfully states as follows in support thereof: 2

                              I.       ARGUMENT AND AUTHORITIES

 A.      Alleged Debtors Have Not Been Generally Paying Their Debts as They Become Due.

         1.       As applicable herein, Section 303(h) of the Bankruptcy Code requires that a court

 shall enter order for relief in an involuntary case "if … (1) the debtor is generally not paying

 such debtor's debts as such debts become due unless such debts are the subject of a bona fide

 dispute as to liability or amount..." 11 U.S.C. § 303(h). The burden is on the petitioning creditor

 to prove this element by a preponderance of the evidence. See Norris v. Johnson (In re Norris),

 No. 96-30146, 1997 U.S. App. LEXIS 41449, 1997 WL 256808, at *3 (5th Cir. Apr. 11, 1997).

 The determination is made as of the filing date of the involuntary petitions. In re Sims, 994 F.2d

 210, 222 (5th Cir. 1993).

         2.       In determining whether an alleged debtor is generally paying its debts as they

 come due, courts typically look to four factors: (i) the number of unpaid claims; (ii) the amount

 of such claims; (iii) the materiality of the non-payments; and (iv) the nature of the debtor's

 overall conduct in his or her financial affairs. See, e.g., In re Moss, 249 B.R. 411, 422 (Bankr.

 N.D.Tex. 2000) (citing In re Norris, 183 B.R. 437, 456-57 (Bankr. W.D. La. 1995).




 1
   Pursuant to the Agreed Scheduling Order Regarding Discovery and Hearing on: (I) Joint Motion of Acis Capital
 Management, L.P. and Acis Capital Management GP, L.L.C. to Dismiss Involuntary Petitions and Request for
 Award of Fees, Costs, and Damages and (II) Involuntary Petitions [Case No. 18-30264, Docket No. 33 & Case No.
 18-30265, Docket No. 31] (the "Agreed Scheduling Order"), Section 303(i) issues are bifurcated. Therefore, Mr.
 Terry does not address those issues based on the order and agreement of the parties.
 2
   Capitalized terms not defined herein have the meanings ascribed to such terms by Joshua N. Terry's Objection to
 Joint Motion of Acis Capital Management, L.P. and Acis Capital Management GP, LLC to Dismiss Involuntary
 Petitions and Request for Award of Fees, Costs, and Damages [Case No. 18-30264, Docket No. 36 & Case No. 18-
 30265, Docket No. 35].


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          3.    "Case law instructs that the relevant standard for determining whether a debtor is

 generally paying his debts as they become due is generally flexible and involves consideration of

 the totality of the circumstances and requires a balancing of the interests of the alleged debtor

 against the interest of its creditors." In re Baron, No. 12-37921, 2013 Bankr. LEXIS 2604, at *

 43 (Bankr. N.D. Tex. June 26, 2013) (citing In re Town of Westlake, Tex., 211 B.R. 860, 864

 (Bankr. N.D. Tex. 1997)). See also In re Concrete Pumping Serv. Inc., 943 F.2d 627 (6th Cir.

 1991).

          4.    "Courts typically hold that, under Section 303(h)(1) of the Bankruptcy Code,

 'generally not paying debts' includes regularly missing a significant number of payments or

 regularly missing payments which are significant in amount in relation to the size of the debtor's

 operation." Baron, 2013 Bankr. LEXIS 2604, at * 43. "Further, any debt which Putative Debtor

 was not current on as of [the Petition Date] will be considered as a debt not being paid as it

 became due." In re Bates, 545 B.R. 183, 188 (Bankr. W.D. Tex. 2016).

          5.    The ratio of paid claims to unpaid claims in this situation is similar to that in

 Moss, where the debtor's unpaid debt totaled "at least $2.2 million, which consists of

 approximately 99% of the amount of her total debts." In re Moss, 249 B.R. at 424 (citing

 Concrete Pumping, 943 F.2d at 630)(holding that debtor was not paying debts as they became

 due where debtor was in default on 100% of its debt to only one creditor); see also In re Fischer,

 202 B.R. 341, 351 (E.D.N.Y. 1996) (reversing dismissal of involuntary petition because debtor

 was not paying two outstanding debts which exceeded $2.1 million and debtor failed to establish

 that he was paying anywhere close to 50% of his current liabilities); In re Garland Coal &

 Mining Co., 67 B.R. 514, 521 (Bankr. W.D. Ark. 1986) (debtor generally not paying debts as




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 they become due where, although the debtor was paying most of its creditors in number, the total

 debt which it was not paying exceeded 50% of its outstanding liabilities); Hill v. Cargill, Inc.,

 8 B.R. 779, 780-81 (D. Minn. 1981) (finding that although the debtor paid its small consumer

 creditors, relief was appropriate due to the overwhelming total amount of unpaid claims); In re

 Dakota Lay'd Eggs, 57 B.R. 648, 657 (Bankr. D.N.D. 1986) (finding debtor was not paying its

 debts when it only paid weekly expenses, not past due billings).

        6.      Typically, courts consider the range of approximately 50% to be an indication of

 general payment or non-payment. Aigner v. McMillan (In re McMillan), No. 11-47029, 2013

 Bankr. LEXIS 2269, at *11-12 (Bankr. N.D. Tex. 2013) ("the law applicable in this district is

 clear: an alleged debtor's failure to deal with a single, principal debt is sufficient to support a

 determination that the alleged debtor is not meeting its obligations as they come due"); In re

 Smith, 415 B.R. at 231 (debtor was not meeting obligations as they came due and finding that

 "even though Mr. Smith is paying, including post-petition, his small recurring debts as they come

 due, he is not paying ninety-nine percent of his debts in aggregate"); In re All Media, 5 B.R. 126,

 143 (Bankr. S.D. Tex. 1980) ("generally not paying debts includes regularly missing a significant

 number of payments which are significant in amount in relation to size of debtor's operations"),

 aff'd, 646 F.2d 193 (5th Cir. 1981)); In re Fischer, 202 B.R. at 351 ("the record fails to establish

 that Fischer was paying, in terms of dollar amounts, anywhere close to 50% of his current

 liabilities"); In re Garland, 67 B.R. at 522 (finding a debtor was not paying debts as they came

 due when the debtor "was paying most of its creditors in number [but] the total debt which it was

 not paying as the debts became due was well over fifty percent of the outstanding liabilities");

 In re Edwards, 501 B.R. at 682 ("[a]lthough Edwards may have selectively paid some of his

 small, recurring debts, he failed to pay his larger, material debts when due").



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        7.      A debtor's preference of paying some creditors – particularly insiders – over

 others can also support a finding that a debtor is not paying its debts as they become due. See,

 e.g., In re Am. Cotton Suppliers Int'l, Inc., No. 02-50003-7, 2002 Bankr. LEXIS 1972, at *75

 (Bankr. N.D. Tex. 2002) (debtor paid $50,000 to his father but made no effort to pay other

 creditors $8 million, representing more than 90% of his debt and more than 50% of his

 creditors). In Knighthead Master Fund, L.P. v. Vitro Packaging, LLC (In re Vitro Asset Corp.),

 No. 3:11-CV-2603-D (N.D. Tex. Aug. 28, 2012), the district court found error in the bankruptcy

 court's ruling that the alleged debtors were generally paying their debts as they became due,

 where the bankruptcy court has relied on the fact that the alleged debtors had a significant

 number of third-party creditors/trade vendors, which had been continually paid, even though the

 unpaid debts to the petitioning creditors far exceeded the paid debts in terms of dollar amount.

 The petitioning creditors were holders of promissory notes that were guaranteed by the alleged

 debtors, as to which the primary obligor and alleged debtors had ceased making interest

 payments, and the unpaid debts represented 99.9% of the total dollar amount of debt of each of

 the alleged debtors.

        8.      The evidence at trial will show that Acis Capital Management, L.P. ("Acis LP")

 and Acis Capital Management GP, LLC ("Acis GP," with Acis LP, the "Alleged Debtors" or

 "Acis") are failing to pay a significant debt – Mr. Terry's $8 million judgment. Dependent upon

 the number of actual creditors of Alleged Debtors, see discussion in Section B.1. below, Mr.

 Terry's judgment represents at a minimum more than 80% of the overall debt of Alleged Debtors

 and 99% of the debt when Highland’s self-inflated, insider claim is excluded. Additionally, to

 the extent creditors who invoiced entities other than Alleged Debtors are deemed to be creditors

 of Alleged Debtors, a significant number of those debts (which are undisputed by Alleged



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 Debtors) are old and remain unpaid. Indeed, Alleged Debtors' own documents evidence, as this

 Court will see, that more than 95% of these non-insider purported debts are over 90 days old and

 Alleged Debtors have no documented evidence that any of those non-insider purported creditors

 have agreed to wait for payment.

        9.      Furthermore, the uncontrovertible evidence will be that Alleged Debtors wholly

 lack the ability to ever significantly pay the judgment due to the abundant fraudulent transfers

 Alleged Debtors have engaged in, including, but not limited to, amending the Shared Services

 and Sub-Advisory Agreements to shift all outflows of cash and the economic benefit of Acis's

 operations to Highland, the Note Transfer, and the transfer of the risk retention structure.

 Indeed, Mr. Ellington (a Highland employee) testified repeatedly that Alleged Debtors are net

 negative cash flowing. Which begs the question: how can Alleged Debtors generally be paying

 their debts as they become due when there is negative cash flow, a significant asset in the form

 of a note has been transferred out of the estate, Alleged Debtors have made preferential transfers

 in excess of ten million dollars ($10,000,000) to an insider and attempted transfers of all

 income/revenue generating contracts for no consideration with an $8 million judgment to pay?

 The answer is clear – Alleged Debtors cannot be and are not paying their debts generally as they

 become due.

        10.     To that end, the fourth factor of the test set forth above—the nature of the debtor's

 overall conduct in his or her financial affairs — warrants the entry of an order for relief. Courts

 have found that a debtor's bad faith or fraudulent conduct in its financial affairs weighs in favor

 of maintaining a Section 303 action. See, e.g., In re Bates, 545 B.R. at192 ("Putative Debtor

 funneled money out of FWLL through various entities for his own benefit and problematically

 moved large sums of money out of his personal account.            Thus, Putative Debtor's overall



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 financial conduct mitigates in favor of finding that he is not generally paying his debts as they

 become due").

         11.     Similarly, in In re Moss, Judge Houser determined that an alleged debtor was not

 paying its debts as they came due when the alleged debtor "attempted to delay creditors through

 the transfers of assets she has made," concluding that "[the alleged debtor's] overall conduct of

 her financial affairs has been poor." In re Moss, 249 B.R. at 423.

         12.     As set forth above, and detailed during the hearings held on February 6 and

 February 7, 2018 (the "303(f) Hearing"), Alleged Debtors have engaged in numerous fraudulent

 conveyances, funneled money out of Alleged Debtors to affiliates, made clearly preferential

 payments to Highland with nary a concern about other creditors, all in an attempt to denude

 Alleged Debtors of assets, systematically dismantle Alleged Debtors' business and prevent Mr.

 Terry and the other legitimate creditors of Alleged Debtors from being paid. All the while,

 Highland takes money out of Alleged Debtors' pockets and places it in its own. This does not

 just smack of bad faith or poor financial conduct – it screams it.

 B.      Alleged Debtors Have Fewer Than 12 Creditors.

         13.     Pursuant to Section 303(b)(2) of the Bankruptcy Code, a sole petitioning creditor

 holding at least $15,775 in claims can initiate an involuntary bankruptcy case so long as the

 alleged debtors have fewer than 12 creditors. Alleged Debtors state they "are not going to

 dispute Mr. Terry's claim for the purposes of counting creditors under 303…. we're not

 challenging him as a creditor that you would count in an involuntary petition." 3



 3
  Transcript of Hearing on Emergency Motion to Abrogate or Modify 11 U.S.C Section 303(f), Prohibit Transfer of
 Assets, and Impose, Inter Alia, 11 U.S.C Section 363 Filed by Petitioning Creditor Joshua Terry (3); Emergency
 Motion to Set Hearing (related to Document (8) Motion to Dismiss Case Filed by Alleged Debtor Acis Capital
 Management, LP (9) (Case Nos. 18-30264-SGJ7 &18-30264-SGJ7) (the "Transcript"), Tr. 307: 19-21 & 23-24 (Feb.
 7, 2018).


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         14.      Mr. Terry asserts that Alleged Debtors have fewer than 12 creditors. Of the 18

 creditors included on the Notice of List of Creditors Pursuant to Fed. R. Bankr. P. 1003(b) [Case

 No. 18-30264, Docket No. 7 & Case No. 18-30265, Docket No. 7], the 19 creditors included on

 the First Amended Notice of List of Creditors Pursuant to Fed. R. Bankr. P. 1003(b) [Case No.

 18-30264, Docket No. 17 & Case No. 18-30265, Docket No. 16] and the 20 creditors included

 on the Second Amended Notice of List of Creditors Pursuant to Fed. R. Bank. P. 1003(b) [Case

 No. 18-30264, Docket No. 39 & Case No. 18-30265, Docket No. 38](the "Alleged Creditor

 List") 17-18 creditors cannot be counted for the numerosity requirement of Section 303(b)(2) of

 the Bankruptcy Code based on either not being a creditor of Alleged Debtors or on being

 Congressionally excluded from the twelve creditor count by the express language of Section

 303(b)(2). 4 For purposes of Section 303(b)(2), Alleged Debtors only have a maximum of three,

 or more likely only two, non-insider creditors eligible for numerosity purposes.

         15.      After the Alleged Creditor List was filed, Mr. Terry bears the burden of showing

 that Alleged Debtors actually have less than 12 qualified creditors under Section 303(b) of the

 Bankruptcy Code. See In re Moss, 249 B.R. 411, 419 n. 6 (Bankr. N.D. Tex. 2000). Mr. Terry

 must meet this burden by a preponderance of the evidence. In re Smith, 415 B.R. 222, 229

 (Bankr. N.D. Tex. 2009).

 1.      Many Of The Creditors Listed On Alleged Creditor List Are Creditors Of Highland
         Or Lackey Hershman.

         16.      Thirteen of the creditors listed on the Alleged Creditor List note Highland Capital

 Management, LP ("Highland"), Lackey Hershman, LLP ( " Lackey" ) , counsel to Alleged

 Debtors and other entities in the Arbitration, or McKool Smith, P.C. ("McKool"), current counsel

 for Acis, Highland, James Dondero, Mark Okada and Nancy Dondero, as Trustee of the
 4
  Ineligibility for purposes of Section 303(b)(2) only; legitimate creditors who otherwise are excluded from the
 numerosity count would still be considered under Section 303(h).


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 Dugaboy Investment Trust, as the responsible party or the invoiced party rather than Alleged

 Debtors. Only two invoices produced to Mr. Terry were addressed to even one of Alleged

 Debtors – Jones Day and KPMG.                Since Alleged Debtors do not appear to have any personal

 liability for the prepetition debts related to at a minimum 12 creditors, those debts may not be

 counted for the purpose of determining whether Alleged Debtors have 12 or more creditors. See,

 e.g., In re Sadler, No. 0610091-FRM, 2006 Bankr. LEXIS 4464 at *3 (Bankr. W.D. Tex. 2006)

 ("the Court determined that the following debts were not bona fide creditors for the purposes of

 §303(b)...Capital One [sic] in name of Winchester Ranch Properties, L.L.C.'s [sic] and no proof

 Mr. Sadler was personally liable on the debt").

          17.      Indeed, when asked to identify any agreements between Alleged Debtors and 15

 of the creditors (excluding KPMG, Drexel, Highfield, Highland and Mr. Terry), Alleged Debtors

 could only point to and produce engagement letters between a) Lackey and Highland, b) McKool

 and a host of clients, c) Stanton Advisors and Highland or no agreement or document at all.

 Further, as of the filing of this Brief, six creditors listed on the Alleged Creditor List have

 responded under oath that they hold no claim against Acis. 5 Accordingly, Mr. Terry's burden is

 met from a facial review of the invoices submitted by Alleged Debtors, together with discovery

 obtained.

 2.       Insiders Are Excluded For From the Creditor Calculation

          18.      Highland, Lackey, McKool, and Reid Collins & Tsai ("Reid") are "insiders" of

 Alleged Debtors and, therefore, not eligible to be counted pursuant to Section 303(b). As set

 forth in Section 303(b)(1), the creditor count excludes "any employee or insider" of an

 alleged debtor. Section 101(31) of the Bankruptcy Code states that the term insider "includes"

 5
  Discovery is ongoing as of the time of the filing of this Brief. Mr. Terry reserves all rights to supplement this Brief
 or his argument at trial based on later received discovery.


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 certain enumerated parties, i.e., officer of the debtor, affiliate, etc.                         The use of the word

 "includes" suggests that the list of enumerated "insiders" is not exclusive or exhaustive. See

 In re Missionary Baptist Foundation of Am., Inc., 712 F.2d 206, 210 (5th Cir. 1983). On March

 5, 2018, the United States Supreme Court stated "[c]ourts have additionally recognized as

 insiders some persons not on that [101(31)] list—commonly known as "nonstatutory insiders."

 The conferral of that status often turns on whether the person’s transactions with the debtor (or

 another of its insiders) were at arm’s length." U.S. Bank v. The Village at Lakeridge, No. 15–

 1509, 2018 U.S. LEXIS 1520, at *5, 2018 WL 1143822, at*2, 583 U. S. ____ (2018); see also

 Smith, 415 B.R. at 232 (Bankr. N.D. Tex. 2009)(for purposes of Section 303(b), "[a]n insider is

 an entity or person with 'a sufficiently close relationship with the debtor that his conduct is made

 subject to closer scrutiny than those dealing at arm's length with the debtor")(quoting Missionary

 Baptist, 712 F.2d. at 210).

            19.       The Fifth Circuit finds that "cases which have considered whether insider status

 exists generally have focused on two factors in making that determination: (1) the closeness of

 the relationship" between the parties and "(2) whether the transaction...[was] conducted at arm's

 length." In re Holloway, 955 F.2d 1008, 1011 (5th Cir. 1992). Alleged Debtors have admitted

 that Highland meets the definition of insider pursuant to Section 101(31) of the Bankruptcy

 Code. 6

            20.       McKool is a law firm representing Alleged Debtors in this bankruptcy

 proceeding and is, therefore, an insider of Alleged Debtors.                          As found by Judge Hale in

 In re Smith, "the term 'insider' includes an attorney who is currently defending the client in an

 involuntary bankruptcy petition." Smith, 415 B.R. at 233 (Bankr. N.D. Tex. 2009) (citing In re


 6
     Transcript 246: 8-9 ("there are no insiders other than Highland on the list of eighteen").


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 Rimell, 111 B.R. 250 (Bankr. E.D. Mo. 1990), aff'd 946 F.2d 1363 (8th Cir. 1991)).

 Accordingly, McKool cannot be counted as a creditor for numerosity purposes.

            21.      Similarly, Reid, in responding to discovery propounded by Mr. Terry, responded

 that it currently represents Acis with respect to its dispute with Joshua N. Terry ("Mr. Terry").

 Additionally, Reid responded that it currently represents Acis, Highland, and 14 Highland

 affiliates. Lisa S. Tsai, a named partner of Reid, states in the lead-in on her law firm webpage

 that she represented and won a "Top 50 Verdict in the United States… against Credit Suisse [in

 favor of Highland] following a lengthy jury trial and bench trial." 7 "Both the statute and its

 legislative history indicate that an insider may be someone who currently enjoys a fiduciary

 relationship with the debtor…. an attorney, who invariably acquires confidential client

 information and whose relationship is governed by rules of professional conduct, may come

 under this [insider] categorization." In re Rimell, 111 B.R. 250, 254 (Bankr. E.D. Mo. 1990).

 Here, Reid Collins currently represents Alleged Debtors and Highland. The relationship between

 Reid and Acis is governed by the rules of professional conduct and is not arm's length. As

 current counsel, one can assume that Reid has confidential information related to Alleged

 Debtors. Furthermore, Reid has strong ties to Highland – a creditor herein who opposes the entry

 of an order for relief. Under the Rimell case, adopted by Judge Hale's Smith decision, Reid is a

 non-statutory insider of Acis.

            22.      Lackey, another creditor listed, is a law firm that routinely represents Highland

 and its affiliates. In fact, Paul Lackey, one of the named partners in the Lackey firm, boasts on

 his firm webpage that "Paul Lackey, repeatedly recognized as a Texas Super Lawyer, has acted

 as the outside litigation counsel for a decade for Highland Capital Management, L.P., one of the


 7
     Lisa S. Tsai, rctlegal.com, http://www.rctlegal.com/person/lisa-s-tsai/ (last visited March 15, 2018).


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 largest private-equity funds in the country." 8 Lackey has generated substantial revenue from

 Highland and its affiliates and, therefore, is close, not arm's length, nor incentivized to file or

 join an involuntary petition against Alleged Debtors. Lackey's corporate representative testified

 that since the formation of the Lackey firm, Lackey has represented Highland and its affiliates on

 many matters. Therefore, Lackey has a sufficiently close relationship that it should be considered

 an "insider" of Alleged Debtors.

            23.      "Congress excluded insiders and recipients of voidable transfers from the creditor

 numerosity calculation under § 303(b)(2) to alleviate its concern that an insolvent debtor and

 friendly creditors would collude to defeat an involuntary petition. If insiders or recipients of

 voidable transfers (i.e., those without incentive to file an involuntary bankruptcy as they are

 receiving payment) collude with a debtor to artificially increase the total number of creditors to

 more than 12, it could block an involuntary petition." In re CorrLine Int'l, Inc., 516 B.R. 106,

 144 (Bankr. S.D. Tex. 2014) (collecting cases)(emphasis added). Therefore, parties that are not

 incentivized to file or join involuntary petitions against alleged debtors may (and should) be

 considered insiders.

            24.      Indeed, counsel for Alleged Debtors admitted during prior hearings that the

 various law firm creditors are not incentivized to file an involuntary petition against Alleged

 Debtors, saying: 9

            Pulling Highland out, seventeen entities; pulling Mr. Terry out, seventeen entities and not
            likely one of them is going to join in against Acis its client, its party who owes it money,
            party who retained it in connection with the litigation. For instance, the McKool Smith
            law firm, for instance, the Lackey Hershman law firm; for instance, the Andrews & Kurth
            (sic) law firm, I can go on. For instance, the depo company who gets paid regularly.



 8
     Meet Our Team, lhlaw.com, http://www.lhlaw.net/paul-lackey.html (last visited March 15 2018).
 9
     Transcript of Hearing Held on February 7, 2018, at p 244: 22-25 to p. 245:1-5.


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        25.     Mr. Terry believes that pending discovery may reveal that other alleged law firm

 creditors are also "insiders" and thus not included for the purposes of the numerosity requirement

 of 303(b). Mr. Terry reserves the right to argue the same at trial.

 3.     Voidable Transfers.

        26.     Section 303(b)(2) expressly excludes from the creditor count "any transferee of a

 transfer that is voidable under sections 544, 545, 547, 548, 549, or 724(a)." 11 U.S.C. § 303; see

 also In re Smith, 415 B.R. 222, 233 Bankr. N.D. Tex. 2009). At this time, discovery shows that

 the following creditors are in receipt of a voidable transfer: Lackey, Highfield Equities, Inc.

 ("Highfield"), Drexel Limited ("Drexel"), Elite Document Technology ("Elite"), and David

 Simek ("Simek"), a new creditor added by the Alleged Creditor List filed on March 6, 2017.

        27.     Lackey received $57,934.27 from JAMS that are a refund of amounts paid by

 Acis to JAMS and are Acis funds/assets. The Lackey corporate representative testified that rather

 than sending the $57,934.27 back to Acis, the refund was directly applied to Lackey's

 outstanding invoice, thereby transferring Acis's interest in the funds to Lackey, a voidable

 Section 547 preference. The evidence at trial will show that Highfield, Drexel, Elite, and Simek

 also received monies from Acis in the 90 days preceding the Petition Dates. Furthermore,

 discovery continues to be produced.       As such, Mr. Terry reserves all rights to argue that

 additional alleged creditors may be excluded from the creditor count due to their receipt of

 voidable transfers.

 4.     De minimis, Small Or Recurring Claims.

        28.     In determining the number of creditors, small recurring creditors are not to be

 included. See Moss, 249 B.R. at 419 (citing In re Denham, 444 F.2d 1376 (5th Cir. 1971);

 Matter of Runyan, 832 F.2d 58, 60 (5th Cir. 1987)(applying Denham, a case decided under the

 Bankruptcy Act, to the Bankruptcy Code). Additionally, some courts interpret Runyan and the

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 pre-Bankruptcy Code case it expands on, Denham, to not only bar small recurring debts from the

 numerosity requirement of Section 303(b), but also de minimis creditors. See, e.g., In re Norris,

 183 B.R. 437, 450 (Bankr. W.D. La. 1995); In re CorrLine, 516 B.R. at 154. Judge Gargotta, in

 Bates, the same case Alleged Debtors cited with great conviction at the March 14, 2018 hearing,

 found that debts in the amount of $932.09, $505.00, and $547.72 were excluded under the

 Denham line of case law. In re Bates, 545 B.R. at 192.

        29.      Even if Alleged Debtors can establish there is personal liability of Alleged

 Debtors for the foregoing debts, certain creditors should not be counted as they are de minimis,

 small, or recurring – namely Case Anywhere, David Langford, Elite Document Technology,

 Jones Day, and CT Corporation. Again, at this time, discovery is outstanding to many of the

 creditors, and Mr. Terry reserves all rights to argue that the alleged creditors may be excluded

 from the creditor count due to the de minimus nature of their claims.

 C.     Special Circumstances Exception.

        30.     Even if the technical requirements of Section 303 have not been met, e.g.,

 numerosity, generally not paying debts as they come due, the Court does not have to grant the

 Motion to Dismiss. The Bankruptcy Court has general powers granted by 11 U.S.C. § 105(a).

 See Marrama v. Citizen’s Bank, 549 U.S. 365, 382 (2007)(noting the "inherent power of every

 federal court to sanction abusive litigation practices," including abusive practices in bankruptcy).

 The Court also has broad inherent powers, and the Court’s inherent powers allow it to "deny…a

 request [made] in bad faith." Id. And federal courts in this district have done just that by

 denying debtors’ motions to dismiss or other attempts to defeat entry of an order for relief on

 involuntary petitions due to purported technical deficiencies under 11 U.S.C. § 303. In this

 district (and many others), the technical requirements of Section 303 can be overcome based on

 the debtor’s "fraud, trick, artifice, or scam." See In re Norriss Bros. Lumber Co., 133 B.R. 599,

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 608 (Bankr. N.D. Tex. 1991)(McGuire, J.)(compiling cases and expanding application of special

 circumstances exception from 303(h) to 303(b)); In re Moss, 249 B.R. 411, 424 (Bankr. N.D.

 Tex. 2000)(Houser, J.)(in responding to argument that special circumstances exception should be

 limited to Section 303(h) analysis, noting "[i]f an exception to one of the technical requirements

 of 11 U.S.C.S. § 303(b) exists when there is fraud, trick, artifice or scam by an alleged debtor,

 there is no logical reason why that exception should not be available to avoid dismissal of an

 involuntary petition on other technical grounds"); In re Smith, 415 B.R. 222, 238 (Bankr. N.D.

 Tex. 2009) and 437 B.R. 817, 825 (Bankr. N.D. Tex. 2010)(Hale, J.)("[a] line of cases in this

 district has established a ‘special circumstances’ exception to the three creditor requirement

 when the alleged debtor has participated in fraudulent transfers and prepetition payments")

 (citing In re Moss, 249 B.R. at 424).

        31.     For example, a "special circumstances" exception to the requirements of Section

 303 applies when Alleged Debtors have participated in fraudulent transfers and prepetition

 preferential payments. In re Smith, 437 B.R 817, 825 (Bankr. N.D. Tex. 2010) (finding the

 establishment of a spendthrift Cook Islands trust and the transfer of the majority of alleged

 debtor’s assets to the trust to keep assets outside the hands of creditors suggested the application

 of the "special circumstances exception"); In re Moss, 249 B.R. at 424 (denying motion to

 dismiss where exception to the technical requirements of Section 303 existed when there was

 fraud, trick, artifice or scam by an alleged debtor, including fraudulent conveyances and

 preferential transfers); In re Norris Bros. Lumber Co., Inc., 133 B.R. 599, 609 (Bankr. N.D. Tex.

 1991) (fraudulent transfer by debtor constituted special exception under section 303 and court

 denied debtor’s motion to dismiss).




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         32.     This district also recognizes that this bad-faith exception applies to

 Section 303(h). See In re Moss, 249 B.R. at 424 ("If an exception to one of the technical

 requirements of 11 U.S.C.S. § 303(b) exists when there is fraud, trick, artifice or scam by an

 alleged debtor, there is no logical reason why that exception should not be available to avoid

 dismissal of an involuntary petition on other technical grounds"). And another district court case

 in the Fifth Circuit applied the special circumstances exception to Section 303(h) where there

 was evidence of fraud by the debtor. See In re Norris, 183 B.R. 437, 460 (Bankr. W.D. La.

 1995) ("[S]pecial circumstances amounting to trick, fraud, artifice, or scam" are an exception to

 compliance with section 303(h)(1).)

         33.     Other Texas bankruptcy courts have found the same. See, e.g., In re CorrLine

 Int’l, LLC, 516 B.R. 106, (Bankr. S.D. 2014) (denying debtor’s motion to dismiss based on

 Section 303 requirement where debtor engaged in fraudulent transfers to circumvent technical

 requirement). The Fifth Circuit also favored this reasoning in an analogous bankruptcy dispute.

 See In re Denham, 444 F.2d 1376, 1379 (5th Cir. 1971) (applying such reasoning to an

 analogous bankruptcy provision, finding that it would be "grossly inequitable" to allow a debtor,

 to, by fraud or otherwise, create minor creditors to "defeat the use of the Bankruptcy Act by a

 large creditor").

         34.     The uneconomic changes to the Sub-Advisory Agreement and the Shared

 Services Agreement, the Note Transfer, the attempted transfer of the Management Contract, and

 other transfers for less than reasonably equivalent value are clear indications that Alleged

 Debtors have engaged in a series of fraudulent transfers which satisfy the well-established

 standard in this district of fraud, artifice and trick.    Furthermore, Alleged Debtors have

 manufactured creditors – entities and individuals that are clearly not legitimate creditors of



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 Alleged Debtors but instead are being foisted upon these estates at the whim and pleasure of

 Highland, a party who is hopelessly conflicted and the recipient of tens of millions of dollars of

 preferential and fraudulent transfers – in a bad faith attempt to defeat these involuntary petitions.

 As counsel for Alleged Debtors stated at the hearings held on March 14, 2018, "you don't walk

 into a federal court with dirty hands and ask that the court take jurisdiction over a case. You walk

 in with clean." 10 Ironically, it is Alleged Debtors who have come to federal court – this Court –

 with dirty hands after engaging in blatant fraudulent transfers, transferring millions of dollars in

 preferential payments to Highland while not timely paying other legitimate creditors,

 manufacturing creditors of these estates in order to prevent justice from being served and then

 brazenly arguing that Mr. Terry, a conceded creditor with a claim that is not subject to a bona

 fide dispute as to liability or amount, is acting in bad faith.               This simply should not be

 countenanced by this Court. Therefore, in the event this Court finds, for the purposes of Section

 303 of the Bankruptcy Code, that there are more than 12 creditors or that Alleged Debtors are

 generally paying their debts as they become due, the special circumstances exception to Section

 303 should be made applicable under the facts and circumstances of this case.

 D.      This Is Not A Two-Party Dispute, Was Not Filed in Bad Faith, And Abstention Is
         Improper.

         35.      Alleged Debtors allege that these involuntary bankruptcies should be dismissed

 pursuant to Section 305(a) of the Bankruptcy Code because these bankruptcies are not in the best

 interests of creditors. As support for their proposition, they argue that this is a two party dispute,

 these Cases were allegedly filed in bad faith and as a litigation tactic. Alleged Debtors bear the

 burden of showing that a dismissal is in the best interests of creditors, that these cases were filed

 in bad faith and that this Court should abstain.
 10
  Transcript of March 14, 2018 hearing on Motion to for Protective Order and/or to Quash the Deposition of James
 Dondero, et al. Tr. 116: 2-4


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        36.     "'The courts that have construed § 305(a)(1) are in general agreement that

 abstention in a properly filed bankruptcy case is an extraordinary remedy, and that dismissal is

 appropriate under § 305(a)(1) only in the situation where the court finds that both 'creditors and

 the debtor' would be 'better served' by a dismissal.'" In re AMC Investors, 406 B.R. 478, 488

 (Bankr. D. Del. 2009)(citing In re Eastman, 188 B.R. 621, 624 (B.A.P. (9th Cir. 1995).

        37.     "'Granting an abstention motion pursuant to § 305(a)(1) requires more than a

 simple balancing of harm to the debtor and creditors; rather, the interests of both the debtor and

 its creditors must be served by granting the requested relief.'" Id.; see also In re Smith, 415 B.R.

 222, 238-239 (Bankr. N.D. Tex. 2009). The movant bears the burden to demonstrate that the

 interests of the debtors and creditors would benefit from dismissal. Id.

        38.     Nowhere in the Motion to Dismiss or Supplement to the Motion to Dismiss do

 Alleged Debtors argue how the creditors are better served outside of bankruptcy. The simple

 reason for that is because the creditors cannot be better served outside of bankruptcy because

 Alleged Debtors and Highland will continue with their pattern and practice of dismantling

 Alleged Debtors and absconding with the assets, in many instances to offshore entities, while

 creditors are left holding an empty bag. A dismissal here only serves Highland's unabashed

 goals of denuding these estates of all their assets unchecked and without oversight and would fly

 in the face of fundamental fairness and the principles underlying the Bankruptcy Code.

 1.     This Is Not Merely A Two-Party Dispute

        39.     This district and other districts in this circuit have rejected the line of case law

 from other circuits that establishes an almost per se rule against a single creditor maintaining an

 involuntary bankruptcy, or what amounts to effectively a two party dispute (a single creditor and

 an alleged debtor). See In re CorrLine, 516 B.R. at 154 ("[t]his Court does not believe that any

 heightened scrutiny is warranted when a single creditor files an involuntary petition because the

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 Code does not state such a rule—rather, the plain language of the Code requires only that where

 a single creditor files the petition, there be fewer than twelve creditors"); In re Smith, 415 B.R.

 222. This would improperly abrogate Sections 303(b) and (h) of the Bankruptcy Code, 11 U.S.C

 § 303(h) ("If a petition is not timely controverted, the court shall order relief…"), and would

 rewrite Section 303(b) to require at least 2 petitioning creditors in every instance to avoid

 dismissal as a two party dispute. See also Smith, 415 B.R. 222 (order for relief entered after an

 involuntary petition had been filed by one creditor).

             40.      Incredibly, after strenuously arguing the existence of 12 or more creditors,

 Alleged Debtors also argue that this is "essentially a two party dispute" and should be dismissed

 on that basis. This Court, at the hearing on the 303(f) Motion, noted that it was illogical and

 inconsistent for Alleged Debtors to simultaneously argue this is a two-party dispute while

 asserting that they have 19 (now 20) creditors saying: 11




             41.      The law and the facts of this case do not suggest that this is a two party dispute.

 Notably, Alleged Debtors have admitted they are indebted to more parties in addition to Mr.

 Terry. 12 In fact, Alleged Debtors have submitted evidence to this Court that KPMG and Jones

 Day – creditors who actually billed Acis — have not been paid timely nor have Lackey or Reid

 (whose claims are not agreed and should be subject to review by a trustee). In fact, because of


 11
      Transcript 250: 18-25 (Feb. 7. 2018).
 12
      Alleged Creditor List.


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 the uneconomic changes to the Shared Services Agreement and the Sub-Advisory Agreement,

 Alleged Debtors are not regularly paying Highland in full.

         42.      Additionally, even Alleged Debtors concede that there are and will remain unpaid

 debts of Acis. At the 303(f) Hearing, Alleged Debtors argued that Acis is net cash flow

 negative 13 only paying amounts due to Highland and its affiliates while simultaneously admitting

 and arguing that it has 20 creditors who are owed approximately $11.5 million in the aggregate,

 $8.7 million when Highland is excluded, and over $725,000 when Highland and Mr. Terry's

 judgment are excluded. So, which one is it? Is this a two-party dispute when all other creditors

 except Mr. Terry are being paid their debts as they come due, or is Acis net cash flow negative

 and unable to pay its creditors that are part of this alleged two-party dispute?

         43.      Moreover, many of the cases cited by Alleged Debtors find that dismissal is not

 warranted and proceed to enter an order for relief. One of the best examples is In re AMC

 Investors, 406 B.R. 478, 488 (Bankr. D. Del. 2009) in support of their assertion. In In re AMC

 Investors, the bankruptcy court finds, in connection with the alleged debtors' argument therein

 that the matter was a two party dispute, that

         [petitioning creditor’s] primary, and perhaps only reason for filing the involuntary
         petition is to seek the appointment of a chapter 7 trustee, who will possess the authority
         to investigate and, if appropriate, to pursue claims against the officers and directors of the
         Alleged Debtors relating to alleged fraud perpetrated against [petitioning creditor] by
         [alleged debtors]. While such a purpose for seeking bankruptcy jurisdiction may not be
         proper in every case, under these facts, [petitioning creditor] has a valid bankruptcy
         purpose. It is highly unlikely that [petitioning creditor] could pursue claims against the
         Alleged Debtors' officers and directors in either a direct or derivative suit. Thus, either a
         bankruptcy trustee or state court receiver is necessary to pursue these potential assets, if

 13
    Mr. Terry submits that Acis is only cash flow negative because Highland by and through Mr. Dondero negotiated
 and entered into a one-sided, unbalanced, and for less than reasonably equivalent value amended agreements relating
 to sub-advisory services and shared services, Shared Services Agreement and the Sub-Advisory Agreement. Mr.
 Dondero, as President of Acis GP on behalf of Acis LP and on behalf of Highland, approved each amended
 agreement. Mr. Terry does not agree or stipulate that Acis is nor should be net cash flow negative – but for the
 wrongful prepetition conduct, Acis would be cash flow positive. This, along with a litany of other reasons, is why
 this matter cries out for bankruptcy.


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        appropriate. While receivership is certainly an option in this case, no such action has been
        instituted. The existing state court action (the appeal of the Amended Judgment) is not an
        action seeking the appointment of a receiver. No out-of-court workout between the
        parties is in the offing.

        Furthermore, the geographic scope of the parties to this case spans state and national
        boundaries. The Alleged Debtors are Delaware LLC's managed from Florida. The
        involuntary petition for [petitioning creditor] reflects a mailing address in London. AMC
        Computer operated out of New York. The state court judgment was obtained in New
        York and filed as a judgment lien in Florida. While a state court receiver may certainly
        attempt to liquidate the Alleged Debtors, it would certainly be a more cumbersome and
        less efficient process for the receiver to obtain recognition in various jurisdictions, rather
        than permitting the use of federal bankruptcy jurisdiction.

        The Court finds that it is not in the best interest of [petitioning creditor] for it to abstain.
        Moreover, since the Alleged Debtors are insolvent, non-operating limited liability
        companies that hold stock in a defunct computer company, it is not clear how a
        bankruptcy petition is harmful. In fact, the only entities that may be harmed by entering
        an order for relief in this case are the officers and directors of the Alleged Debtors. While
        these individuals may desire to avoid the threat of lawsuits pursued by a chapter 7 trustee,
        their interests are not relevant in a decision to abstain under section 305(a)(1).
        Accordingly, the Court declines to abstain in these cases.

 In re AMC Investors, 406 B.R. at 488-89.

        44.     Similarly, in Smith, 415 B.R. at 239, in denying the alleged debtor’s motion to

 dismiss or for abstention, Judge Hale found that "[t]here are remedies under the Bankruptcy

 Code that are not available to [petitioning creditor] under state law, due to [alleged debtor’s]

 transfer of the majority of his assets to the Cook Island Trust, federal proceedings may be

 necessary to reach a just and equitable solution, and the bankruptcy court is the most efficient

 place to administer property of the estate for creditors."

        45.     The facts and circumstances herein are similar to those in AMC Investors and

 Smith. These bankruptcies were necessary, despite pending hearings on a temporary injunction

 and a receivership application (which would not be heard until March). A chapter 7 trustee is

 necessary to halt the fraudulent actions of Alleged Debtors and Highland as discussed above. A

 chapter 7 trustee is necessary to resolve the inherent conflicts of interest surrounding Alleged


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 Debtors operation. A chapter 7 trustee will find it less cumbersome and more efficient than any

 state court receiver to pursue the claims and causes of action of these estates given the nature of

 the claims and geographic location of certain defendants. A bankruptcy is necessary to address

 the cross-border and multi-jurisdictional issues now presented, since the insertion of various

 Cayman Island entities. Preference actions do not exist in state law. Federal bankruptcy court is

 single handedly the most efficient place to administer property of the estate for creditors.

 Finally, the only party prejudiced by these bankruptcies is Highland – and harm to Highland

 should not result in this Court abstaining because such would reward Highland unjustifiably for

 its bad acts. This is not a two party dispute, and even if it is, dismissal or abstention is clearly not

 warranted as in and for the reasons stated in AMC Investors and Smith.

 2.    The Filing of the Involuntary Cases is Not Merely a Litigation Tactic and Are Not in
 Bad Faith.

         46.     In evaluating bad faith, a presumption exists that the petitioning creditor or

 creditors acted "in good faith in filing an involuntary petition, and that the alleged debtor then

 has a burden of proving bad faith by a preponderance of the evidence." In re Synergistics Techs.,

 Inc. No. 07-31733, 2007 Bankr. LEXIS 2660, at *14 (Bankr. N.D. Tex. Aug. 6, 2007)(

 (compiling cases and discussing Section 303(i)(2) bad faith). The court should consider "the

 totality of the circumstances . . .considering such things as action, motives and objectives of the

 parties." Id. at *19.

         47.     Alleged Debtors argue that these involuntary bankruptcies are in bad faith

 because they are being used as a litigation tactic "in a desperate attempt to delay the inevitable

 dissolution of the Agreed Order in the State Court Action" and that "[i]t is likely the State Court

 would have modified those restraints or dissolved them completely at the conclusion of the TI

 Hearing."     (Mot. to Dismiss at p.14.)      Effectively, Alleged Debtors argue that Mr. Terry


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 allegedly timed these filings to avoid negative outcome in state court. Yet, Alleged Debtors do

 not offer any evidence to support their wild claim that Judge Goldstein, in connection with a

 temporary injunction requested by Mr. Terry and set for hearing, would have ruled differently

 than this Court did in connection with the 303(f) Hearings, i.e. that on the exact same facts, an

 injunction would not have issued in the state court. Indeed, it was the risk of inefficient multiple

 litigation across forums (trying the temporary injunction issue to only have to relitigate the exact

 same thing in a Section 303(f) context) that necessitated, in part, the expedient filing of these

 Cases.

          48.   Furthermore, Alleged Debtors do not argue that it is more economic and efficient

 to administer the systematic dismantling of Acis outside of bankruptcy court (although it would

 be more convenient to the pattern of preferences and fraudulent transfers to insiders), nor do they

 argue there is some alternate, less expensive method or forum to adjudicate these issues. Alleged

 Debtors do not argue that the state court can adequately protect the interests of both parties, nary

 all parties, and that federal court protection is not necessary because they simply cannot. They

 do not argue that this is a bad forum. They simply argue that Mr. Terry is forum shopping, and

 forum shopping is de facto bad faith. Mr. Terry submits that this is precisely the forum this

 matter cries out for.

          49.   This Court has acknowledged the legitimacy of an involuntary bankruptcy suit

 when a creditor is faced with a debtor that is dismantling its business to the detriment of certain

 creditors. In re Synergistics Techs., Inc. No. 07-31733, 2007 Bankr. LEXIS 2660, at *20 (Bankr.

 N.D. Tex. Aug. 6, 2007)(finding that "[sometimes, forum shopping is, frankly fine... [when] in a

 liquidation context, sometimes there is a risk of irresponsible dismantling of an enterprise that

 might be unfair to certain creditors, if there is not a bankruptcy-supervised process"). That is



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 precisely the situation here – there is an exceptionally irresponsible dismantling of an enterprise

 that is patently unfair to all of the creditors herein – all the creditors except Highland. This

 process must be supervised by a bankruptcy court, lest Highland continue its pattern and practice

 of paying itself and transferring assets to itself or its affiliates, all to the detriment of creditors.

 3.        The 303 Factors Have Been Met, The Court Must Enter An Order for Relief.

           50.   At the March 14, 2018 hearing in these Cases, Alleged Debtors argued that the

 Court was free to disregard the expressed intentions of Congress and the command of Section

 303(h) to enter an order for relief if the requirements of 303(h) have been met. If the Court is

 inclined to disregard the expressed language of the Bankruptcy Code, it is worthwhile to

 highlight the facts of the cases cited by the Alleged Debtor for the idea that even if the

 requirements of 303(h) have been met, the Court can nonetheless decline to enter an order for

 relief.

           51.   First, Alleged Debtors rely on Judge Gargotta's Bates opinion, which admittedly

 suggests in dicta that courts can ignore the words in Section 303(h). In Bates, Judge Gargotta

 found that the alleged debtor's conduct, including moving sums of money between his personal

 bank account and corporate bank accounts and repeatedly invoking his Fifth Amendment right,

 necessitated the entry of an order for relief. In Bates, the alleged debtor's bad faith rather than the

 petitioning creditor's bad faith was at issue. Like Bates, Alleged Debtors are moving assets

 between affiliates and repeatedly invoking the possibility of criminal penalty (in the case at hand

 under Cayman Island law) to distract from Alleged Debtors', rather than Mr. Terry's, bad faith.

           52.   Second, In re Forever Green Ath. Fields, Inc., 804 F.3d 328 (3rd Cir. 2015) had

 extraordinary facts. In Forever Green, the alleged debtor was involved in active litigation with

 the petitioning creditor's company, which was set to go to arbitration. In re Forever Green Ath.

 Fields, Inc., 804 F.3d at 331. The petitioning creditor obtained a consent judgment in his

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 individual capacity and used the consent judgment to derail pending arbitration between the

 alleged debtor and the petitioning creditor's company, going so far as to attempting to levy the

 arbitrator's retainer. Id. at 331. In fact, the petitioning creditor " threatened to put [the alleged

 debtor] into bankruptcy" if [the alleged debtor] did not agree to terminate the arbitration. These

 are far from the facts herein.

        53.     Furthermore, there is a split of authorities as it relates to whether courts should

 ignore the expresse words of 303(h). Section 303(i)(2) "[m]akes plain that bad faith is not

 relevant unless consequential and punitive damages are under consideration… Ordinarily, the

 bankruptcy court would not reach the issue of bad faith unless and until the Involuntary Petition

 was dismissed." Marciano v. Fahs (In re Marciano), 459 B.R. 27, 44-43 (9th Cir. B.A.P. 2011);

 In re Knoth, 168 B.R. 311, 315 (D.S.C. 1994) ("[T]he motivation of the petitioning creditors is

 irrelevant on the question of whether the involuntary petition should be granted").

        54.     As set forth above, Alleged Debtors have engaged in numerous preferential and

 fraudulent transfers to Highland and Highland affiliates.          Alleged Debtors manufactured

 creditors in an ambush to defeat these involuntary bankruptcy cases. Alleged Debtors have

 either filed fraudulent or grossly misleading sworn testimony with the state court or with this

 court, in either instance in a transparent attempt to obfuscate reality. It is Alleged Debtors that

 are in bad faith - Alleged Debtors do not come to this Court with clean hands. This Court should

 not allow Alleged Debtors to continue this game of catch me if you can and to further obfuscate

 the abject reality that this matter cries out for bankruptcy protection. Based on the foregoing,

 Mr. Terry submits that this is more than a two-party dispute, is not a mere litigation tactic, and

 does not meet the standard for dismissal or abstention. Based on the foregoing, Mr. Terry




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 submits that this is more than a two-party dispute, is not a mere litigation tactic, and does not

 meet the standard for dismissal or abstention.

                                          II.     PRAYER

        Mr. Terry respectfully requests this Court to: (i) enter Orders for Relief under Chapter 7

 of the Bankruptcy Code; (ii) deny the Motion to Dismiss; and (ii) grant Mr. Terry such other and

 further relief to which he may be justly entitled, both at law and in equity.

 DATED: March 16, 2018.




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                                              Respectfully submitted,

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                                              -and-

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 JOSHUA N. TERRY'S BRIEF IN SUPPORT OF: (I) INVOLUNTARY PETITIONS AND (II) OBJECTION
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                                 CERTIFICATE OF SERVICE

         The undersigned certifies that on March 16, 2018, a true and correct copy of the
 foregoing Motion will be electronically mailed to the parties that are registered or otherwise
 entitled to receive electronic notices in this case pursuant to the Electronic Filing Procedures in
 this District.



                                                      /s/ Annmarie Chiarello
                                                      One of Counsel




 JOSHUA N. TERRY'S BRIEF IN SUPPORT OF: (I) INVOLUNTARY PETITIONS AND (II) OBJECTION
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